EXHIBIT 32 PAGE 0001
EXHIBIT 32 PAGE 0002
A_COUNT   A_NAME                 A_GROUP
2         AFRICAN CRESTED PORCUPINE
                                 ALL OTHER COVERED SPECIE
2         AFRICAN SPINY MOUSE    ALL OTHER COVERED SPECIE
1         BOBCAT                 ALL OTHER COVERED SPECIE
1         CAPYBARA               ALL OTHER COVERED SPECIE
2         COATI MUNDI            ALL OTHER COVERED SPECIE
2         COYOTE                 ALL OTHER COVERED SPECIE
28        DEGU                   ALL OTHER COVERED SPECIE
1         DOMESTIC FERRET        ALL OTHER COVERED SPECIE
1         DROMEDARY              ALL OTHER COVERED SPECIE
1         FALLOW DEER            ALL OTHER COVERED SPECIE
2         FENNEC FOX             ALL OTHER COVERED SPECIE
5         KINKAJOU               ALL OTHER COVERED SPECIE
1         LINNES TWOsTOED SLOTH ALL OTHER COVERED SPECIE
2         NORTH AMERICAN BLACK BEAR
                                 ALL OTHER COVERED SPECIE
1         PATAGONIAN CAVY        ALL OTHER COVERED SPECIE
3         RACCOON                ALL OTHER COVERED SPECIE
1         SERVAL                 ALL OTHER COVERED SPECIE
2         STRIPED SKUNK          ALL OTHER COVERED SPECIE
3         DOG ADULT              DOGS
2         GUINEA PIG             GUINEA PIGS
2         GREATER BUSHBABY       NONHUMAN PRIMATES
4         HAMADRYAS BABOON       NONHUMAN PRIMATES
2         RHESUS MACAQUE         NONHUMAN PRIMATES
1         RINGsTAILED LEMUR      NONHUMAN PRIMATES
1         RUFFED LEMUR           NONHUMAN PRIMATES
1         VERVET                 NONHUMAN PRIMATES
7         CHINCHILLA             OTHER FARM ANIMALS
16        GOAT                   OTHER FARM ANIMALS
1         LLAMA                  OTHER FARM ANIMALS
33        SHEEP OR MOUFLON       SHEEP
3         LION                   WILD/EXOTIC FELINES
1         PUMA                   WILD/EXOTIC FELINES
5         TIGER                  WILD/EXOTIC FELINES




                                                            EXHIBIT 32 PAGE 0003
